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AO 468 (Rev. 04/15) Waiver of a Preliminary Hearing

UNITED STATES DISTRICT COURT

for the
Southern District of California

 

United States of America }
v. } .
} CaseNo. 23-mi1-. 92
Oliver Alan Rosas Gomez (A) 225}
Defendant )

WAIVER OF A PRELEMINARY HEARING

I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged with
violating the terms of probation or supervised release in a petition filed in this court. A magistrate judge has informed
me of my right to a preliminary hearing under Fed. R. Crim. P. 5.1, or to a preliminary bearing under Fed. R. Crim. P.
32.1,

   

Date: {e~2b-24 =

ee iif's signature

(Sra of defendant's attorney

Dacely D. Garcia [SBN: 213171]

 

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